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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA Criminal No.:
Ve ‘| Violation: 18 U.S.C. § 1001 (False
., Statements)

MICHAEL T. FLYNN,

Defendant.

INFORMATION

The Special Counsel informs the Court: Case: 1:17-cr-00232
Assigned To : Judge Contreras, Rudolph
COUNTONE Assign. Date : 11/30/2017
(False Statements) Description: INFORMATION (A)
.On or about January 24, 2017, defendant MICHAEL T. FLYNN did willfully and
, knowingly make materially false, fictitious, and fraudulent statements and representations in a

matter within the jurisdiction of the executive branch of the Government of the United States, to

wit, the defendant falsely stated and represented to agents of the Federal Bureau of Investigation,

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in Washington, D.C., that:
a) On or about December 29, 2016, FLYNN did not ask the Government of Russia’s

Ambassador to the United States (“Russian Ambassador”) to refrain from escalating
the situation in response to sanctions that the United States had imposed against

Russia that same day; and FLYNN did not recall the Russian Ambassador

subsequently telling him that Russia had chosen to moderate its response to those ~ \

- sanctions as a result of his request; and
(ii) | On or about December 22, 2016, FLYNN did not ask the Russian Ambassador to

delay the vote on or defeat a pending United Nations Security Council resolution; and
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that the Russian Ambassador subsequently never described to FLYNN Russia’s

response to his request.

(Title 18, United States Code, Section 1001(a)(2))

ROBERT S. MUELLER, HI
Special Counsel

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\Brafidor L. Van Gratk’

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The Special Counsel’s Office
